              Case 2:17-cr-00023-DAD Document 66 Filed 02/07/18 Page 1 of 5


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 2
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 3   Sacramento, California 95814
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 4   toddleras@gmail.com
     Attorney for Defendant
 5
     ELO WADLEY
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         Case No.: 2:17-CR-023 TLN
12
                    Plaintiff,
13
     vs.                                               STIPULATION AND ORDER
14                                                     CONTINUING STATUS CONFERENCE
     CURTIS PHILLIPS, CHARLES RAY                      AND EXCLUDING TIME UNDER THE
15                                                     SPEEDY TRIAL ACT
     GOODMAN, DEBORAH LYNN POLLARD,
16   CONWAY PHILLIPS, JR., and ELO WILLIE
     WADLEY,                                           Date:      May 17, 2018
17                                                     Time:      9:30 a.m.
                    Defendants.                        Court:     Hon. Troy L. Nunley
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22          This matter is presently set for a status conference on February8, 2018. The case

23   involves a charged conspiracy to distribute cocaine base. The Drug Enforcement
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     Administration’s investigation included the use of confidential sources, controlled purchases, and
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     court-authorized wiretaps of a pager and two cellular telephones. The government has provided
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     voluminous discovery to defense counsel, including nearly 500 pages of investigative reports and
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     ORDER CONTINUING STATUS
28   CONFERENCE
                 Case 2:17-cr-00023-DAD Document 66 Filed 02/07/18 Page 2 of 5


 1   three discs of recordings and other materials.
 2
            Attorney Steve Plesser recently replaced Attorney Greg Foster as appointed counsel for
 3
     Defendant Conway Phillips, Jr. Based on the nature of the investigation and Mr. Plesser’s recent
 4
     substitution into the case, all defense counsel require additional time to conduct their own
 5

 6   investigations regarding potential defenses in the case.

 7          The parties to this action, Plaintiff United States of America by and through Assistant
 8
     United States Attorney Jason Hitt, Attorney Olaf Hedberg on behalf of Defendant Curtis Phillips,
 9
     Attorney Michael Long on behalf of Defendant Charles Ray Goodman, Attorney Toni White on
10
     behalf of Defendant Deborah Lynn Pollard, Attorney Steve Plesser on behalf of Defendant
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12   Conway Phillips, Jr., and Attorney Todd Leras on behalf of Defendant Elo Willie Wadley,

13   stipulate as follows:
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            1.    By this stipulation, Defendants now move to vacate the status conference presently
15
                  set for February 8, 2018. The parties request to continue the status conference to May
16
                  17, 2018, at 9:30 a.m., and to exclude time between February 8, 2018 and May 17,
17

18                2018 under Local Code T-4. The United States does not oppose this request.

19          2. Due to the volume of discovery in the case, including 500 pages of investigative
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                  reports and three discs containing additional materials, defense counsel for all
21
                  defendants are engaged in ongoing review of the discovery and defense investigation
22
                  related to potential defenses in this matter. This investigation is necessary to ensure
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24                that potential defenses are explored and discussed with each defendant in the case.

25          3. All defense counsel represent and believe that failure to grant additional time as
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                  requested would deny each of them the reasonable time necessary for effective
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     ORDER CONTINUING STATUS
28   CONFERENCE
              Case 2:17-cr-00023-DAD Document 66 Filed 02/07/18 Page 3 of 5


 1              preparation, considering the exercise of due diligence.
 2
            4. Based on the above-stated facts, the parties jointly request that the Court find that the
 3
                ends of justice served by continuing the case as requested outweigh the best interest
 4
                of the public and the Defendants in a trial within the time prescribed by the Speedy
 5

 6              Trial Act.

 7          5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 8
                seq., within which trial must commence, the time period of February 8, 2018 to May
 9
                17, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and
10
                (B) (iv) [Local Code T-4] because it results from a continuance granted by the Court
11

12              at Defendants’ request on the basis that the ends of justice served by taking such

13              action outweigh the best interest of the public and the Defendants in a speedy trial.
14
            6. Nothing in this stipulation and order shall preclude a finding that other provisions of
15
                the Speedy Trial Act dictate that additional time periods are excludable from the
16
                period within which a trial must commence.
17

18          Assistant U.S. Attorney Jason Hitt and all defense counsel have reviewed this proposed

19   order and authorized Todd Leras to sign it on their behalf.
20
     DATED: February 6, 2018
21                                                        By       Todd D. Leras for
                                                                   JASON HITT
22                                                                 Assistant United States Attorney
23

24   DATED: February 6, 2018
                                                          By       /s/ Todd D. Leras for
25                                                                 OLAF W. HEDBERG
                                                                   Attorney for Defendant
26
                                                                   CURTIS PHILLIPS
27
     ORDER CONTINUING STATUS
28   CONFERENCE
             Case 2:17-cr-00023-DAD Document 66 Filed 02/07/18 Page 4 of 5


 1   DATED: February 5, 2018
                                              By    /s/ Todd D. Leras for
 2
                                                    MICHAEL D. LONG
 3                                                  Attorney for Defendant
                                                    CHARLES GOODMAN
 4
     DATED: February 6, 2018
 5
                                              By    /s/ Todd D. Leras for
 6                                                  TONI L. WHITE
                                                    Attorney for Defendant
 7                                                  DEBORAH POLLARD
 8
     DATED: February 6, 2018
 9                                            By    /s/ Todd D. Leras
                                                    STEVE PLESSER
10                                                  Attorney for Defendant
                                                    CONWAY PHILLIPS, JR.
11

12   DATED: February 5, 2018
                                              By    /s/ Todd D. Leras
13                                                  TODD D. LERAS
                                                    Attorney for Defendant
14
                                                    ELO WADLEY
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     ORDER CONTINUING STATUS
28   CONFERENCE
               Case 2:17-cr-00023-DAD Document 66 Filed 02/07/18 Page 5 of 5


 1                                                ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the status conference in this matter, scheduled for February 8, 2018, is
 4
     vacated. A new status conference is scheduled for May 17, 2018, at 9:30 a.m. The Court further
 5

 6   finds, based on the representations of the parties and Defendants’ request, that the ends of justice

 7   served by granting the continuance outweigh the best interests of the public and the defendants in
 8
     a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 9
     3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
10
     consideration the exercise of due diligence for the period from February 8, 2018, up to and
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12   including May 17, 2018.

13   DATED: February 6, 2018
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15                                                         Troy L. Nunley
16                                                         United States District Judge

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     ORDER CONTINUING STATUS
28   CONFERENCE
